Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 1 of 13 PageID #: 79
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 2 of 13 PageID #: 80
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 3 of 13 PageID #: 81
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 4 of 13 PageID #: 82
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 5 of 13 PageID #: 83
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 6 of 13 PageID #: 84
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 7 of 13 PageID #: 85
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 8 of 13 PageID #: 86
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 9 of 13 PageID #: 87
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 10 of 13 PageID #: 88
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 11 of 13 PageID #: 89
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 12 of 13 PageID #: 90
Case: 4:21-cr-00633-AGF Doc. #: 42 Filed: 06/08/22 Page: 13 of 13 PageID #: 91
